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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        LIFEFACTORY, INC.,
                                   7                                                        Case No. 14-cv-03257-JD
                                                       Plaintiff,
                                   8
                                                v.                                          ORDER DISMISSING CASE
                                   9
                                        LEAPFROG PRODUCT DEVELOPMENT,
                                  10    LLC,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The Court has been informed that this matter has settled. The case is therefore dismissed

                                  14   without prejudice, with leave to reinstate on or before thirty days from the date of this order for

                                  15   the purpose of proceeding with the litigation in the event a settlement has not been completed prior

                                  16   to that date. In the event a request to reinstate the case is not filed and served on opposing counsel

                                  17   on or before that date, the dismissal will be with prejudice.

                                  18          IT IS SO ORDERED.

                                  19   Dated: December 17, 2014

                                  20                                                    ______________________________________
                                                                                        JAMES DONATO
                                  21                                                    United States District Judge
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